              Case 1:11-cr-00152-LJO Document 40 Filed 08/09/11 Page 1 of 2


1    DANIEL J. BRODERICK, Bar #89424
     Federal Defender
2    JEREMY S. KROGER, Bar # 258956
     Assistant Federal Defender
3    Designated Counsel for Service
     2300 Tulare Street, Suite 330
4    Fresno, California 93721-2226
     Telephone: (559) 487-5561
5
     Attorney for Defendant
6    LEE TOUA XIONG
7
8                                IN THE UNITED STATES DISTRICT COURT
9                              FOR THE EASTERN DISTRICT OF CALIFORNIA
10
11   UNITED STATES OF AMERICA,             )           Case No. 1:11-cr-00152 LJO
                                           )
12                     Plaintiff,          )           STIPULATION TO ADVANCE SENTENCING
                                           )           HEARING; ORDER
13         v.                              )
                                           )           Date: August 19, 2011
14   LEE TOUA XIONG,                       )           Time: 9:00 a.m.
                                           )           Judge: Hon. Lawrence J. O’Neill
15                     Defendant.          )
     _____________________________________ )
16
17          IT IS HEREBY STIPULATED by and between the parties hereto through their respective
18   counsel that the sentencing hearing in the above-captioned matter now set for September 2, 2011, may be
19   advanced to August 19, 2011, at 9:00 a.m.
20          The parties request that the sentencing hearing be advance because there are no outstanding
21   sentencing disputes and because both the government and the Defendant agree that the sentence
22   recommended in the PSR is sufficient and reasonable.
23   ///
24   ///
25   ///
26   ///
27   ///
28   ///
                Case 1:11-cr-00152-LJO Document 40 Filed 08/09/11 Page 2 of 2


1                                                BENJAMIN B. WAGNER
                                                 United States Attorney
2
3    DATED: August 9, 2011                       /s/ Henry Z. Carbajal, III
                                                 HENRY Z. CARBAJAL, III
4                                                Assistant United States Attorney
                                                 Attorney for Plaintiff
5
6
7                                                DANIEL J. BRODERICK
                                                 Federal Defender
8
9    DATED: August 9, 2011                       /s/ Jeremy S. Kroger
                                                 JEREMY S. KROGER
10                                               Assistant Federal Defender
                                                 Attorney for Defendant
11                                               Lee Toua Xiong
12
13
                                             ORDER
14
     IT IS SO ORDERED.
15
     Dated:      August 9, 2011               /s/ Lawrence J. O'Neill
16   b9ed48                               UNITED STATES DISTRICT JUDGE
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     Xiong - Stipulation to Advance
     Sentencing Hearing; Order Thereon           2
